                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                   Case No. 20-51066-MAR

HENRY FORD VILLAGE, INC.,                                Chapter 11

     Debtor.                                             Honorable Mark A. Randon
________________________________/

                    NOTICE OF OCCURRENCE OF EFFECTIVE DATE
                          AND CORPORATE DISSOLUTION

         PLEASE TAKE NOTICE THAT:

              1. On October 28, 2020, the above-captioned debtor and debtor in
                 possession Henry Ford Village, Inc. (the “Debtor”) filed a petition for
                 relief pursuant to chapter 11 of title 11 of the United States Code in the
                 United States Bankruptcy Court for the Eastern District of Michigan,
                 Southern Division (the “Bankruptcy Court”).

              2. On December 6, 2021, the Bankruptcy Court entered the Order (i)
                 Approving Disclosure Statement on a Final Basis and (ii) Confirming
                 [Docket No. 663] (the “Confirmation Order”), confirming the First
                 Amended Chapter 11 Liquidating Plan of Henry Ford Village, Inc. (the
                 “Plan”).

              3. Pursuant to paragraph 13 of the Confirmation Order, this
                 constitutes notice that the Effective Date of the Plan is January 19,
                 2022, at 5:00 p.m. Eastern Standard Time.

              4. A copy of this Notice and a certified copy of the Confirmation Order
                 has or will be transmitted to the Michigan Department of Licensing and
                 Regulatory Affairs, Corporations, Securities, & Commercial Licensing
                 Bureau.

              5. Pursuant to § 4.8 of the Plan, the Debtor is dissolved as of the
                 Effective Date, with all such responsibilities transferred to the
                 Liquidating Trust and the Liquidating Trustee (as defined in the
                 Plan), provided that, consistent with Michigan Compiled Laws


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                   § 450.2833, the Debtor shall continue its corporate existence but
                   shall not conduct affairs except for the purpose of winding up its
                   affairs.

      PLEASE TAKE FURTHER NOTICE THAT: Sheldon L. Stone of
Capstone Partners has been appointed the Liquidating Trustee pursuant to the Plan.
Additional information regarding the Liquidating Trust can be provided by (i)
Sheldon Stone at sstone@captstonepartners.com or (ii) counsel to the Liquidating
Trust, Eric Walker at EWalker@perkinscoie.com and Kathleen Allare at
KAllare@perkinscoie.com.

       PLEASE TAKE FURTHER NOTICE THAT: The documents referred to
herein are currently available by visiting the website maintained by the Debtor’s
claims and noticing agent at http://www.kccllc.net/HFV or for a fee via PACER by
visiting https://www.pacer.gov/. The Liquidating Trustee is in the process of
seeking to transition to an alternative claims and noticing agent and will be notifying
the creditors identified on the Debtor’s creditor matrix when the alternative claims
and noticing agents website is effective.




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 Dated: January 19, 2022.                                Respectfully submitted,

                                                         DYKEMA GOSSETT PLLC

                                                     By: /s/ Sheryl L. Toby
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                                                           COUNSEL FOR DEBTOR AND
                                                           DEBTOR-IN-POSSESSION




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